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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                              UNITED STATES DISTRICT COURT                          October 12, 2018
                               SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk
                                   HOUSTON DIVISION

HELEN DOWDY,                                      §
                                                  §
         Plaintiff,                               §
VS.                                               §   CIVIL ACTION NO. 4:18-CV-02712
                                                  §
TITAN FITNESS LLC, A/K/A TITAN                    §
FITNESS, INC. D/B/A FITNESS                       §
CONNECTION BAYTOWN,                               §
                                                  §
         Defendant.                               §

                ORDER OF DISMISSAL ON SETTLEMENT ANNOUNCEMENT

       The Court has been informed that a settlement of this lawsuit has been reached. The case

is DISMISSED without prejudice to the right of the parties to move for reinstatement within

ninety (90) days after the entry of this Order.

       It is so ORDERED.

       SIGNED on this 12th day of October, 2018.


                                                  ___________________________________
                                                  Kenneth M. Hoyt
                                                  United States District Judge




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